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                    EXHIBIT K
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                                                                              Page 1
 1                      M. HARTZMARK, PH.D.
 2                UNITED STATES DISTRICT COURT
 3                              FOR THE
 4              NORTHERN DISTRICT OF GEORGIA
 5     In Re HD Supply Holdings, Inc.,                    )
                                                          )    Civil Action No.
 6     Securities Litigation,                             )    1:17-CV-02587-ELR
       ---------------------------------)
 7

 8   VIDEOTAPED DEPOSITION OF MICHAEL HARTZMARK, PH.D.
 9                      New York, New York
10                           May 2, 2019
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21     Reported by:
22     KATHY S. KLEPFER, RMR, RPR, CRR, CLR
23     JOB NO. 159526
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 1                     M. HARTZMARK, PH.D.
 2   disclosed on March 14, 2017 and June 6, 2017."
 3               Did I read that correctly?
 4       A.      Yes.
 5       Q.      Can you explain what you mean when you
 6   say "there is no evidence of a lack of price
 7   impact"?
 8       A.      I think it speaks for itself.                      There's
 9   no evidence of a lack of price impact.
10       Q.      What would evidence of a lack of price
11   impact look like?
12               MR. SALTZMAN:            Objection.
13       A.      What would evidence of a lack -- I'm
14   sorry, evidence of lack of price --
15       Q.      Uh-huh.
16       A.      You have no price movements.                      You'd
17   have no statistically significant price
18   movements.
19       Q.      Do you agree, with respect to that
20   passage I just read, that in order for you to
21   reach that opinion, you would have to know what
22   the allegations in the case are so as to
23   determine whether any price impact on the
24   alleged corrective disclosure dates and
25   misrepresentation dates can be attributed to the

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 1                     M. HARTZMARK, PH.D.
 2   allegations in the complaint?
 3               MR. SALTZMAN:             Objection.
 4       A.      For the purposes of this report, I'm
 5   assuming that the plaintiffs' allegations are
 6   proven true at trial, which includes the dates
 7   where there are misrepresentations and
 8   corrective disclosures.
 9       Q.      Okay.      So you assume the truth of the
10   allegations in the complaint with respect to
11   misrepresentations?
12       A.      My understanding is, as an economic
13   expert, that's what I'm supposed to do.
14       Q.      I'm just asking.                Yes, you did?
15       A.      As I believe I state --
16       Q.      That's not --
17       A.      Paragraph 2 --
18       Q.      Okay.
19       A.      Okay.      I'm just saying in paragraph 2,
20   "I have reviewed the Complaint and the Court's
21   Order relating to the Defendants' Motion to
22   Dismiss, and assume the allegations are true for
23   purposes of this report."
24       Q.      Apart from the complaint, what source
25   of information do you have with respect to the

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 1                     M. HARTZMARK, PH.D.
 2   significant movements on the misrepresentations
 3   and corrective disclosures as alleged in the
 4   complaint, I suggest that there's no evidence of
 5   a lack of price impact, and that's as far as
 6   I've looked at this.
 7       Q.      In order for you to render the
 8   opinions set forth in your report, was it
 9   important for you to have an understanding of
10   the allegations of what was misrepresented?
11               MR. SALTZMAN:            Objection.
12       A.      With respect to market efficiency,
13   again, I assume that the allegations, corrective
14   disclosures, and misrepresentations as indicated
15   in the complaint are going to be proven true at
16   trial.
17               With respect to the common damages
18   methodology, those are issues that, you know,
19   it's a common damages methodology, and the
20   inputs of that methodology will be determined,
21   you know, sometime subsequent, I guess, with
22   discovery and trial.
23       Q.      On the dates of the alleged corrective
24   disclosures, did you make any effort to
25   determine what information corrected prior

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                                                                           Page 85
 1                     M. HARTZMARK, PH.D.
 2       A.      Yes.
 3       Q.      What is the unexpected news to which
 4   you were referring?
 5       A.      Assuming the complaint is proven at
 6   trial, it'll be associated with the information
 7   that is revealed on June 6, 2017, but I say from
 8   a statistical perspective, the information is
 9   unexpected and material, and that's a general
10   analysis from an efficient market; that if you
11   see a statistically significant decline,
12   especially of that magnitude, that the news is
13   unexpected and material.
14       Q.      And the news that was unexpected would
15   be the news that's as alleged in the complaint?
16   That's your source?
17               So if we look at the complaint to see
18   what it says was unexpected on June 6, that
19   would be your basis?
20               MR. SALTZMAN:            Objection.
21       A.      Well, I understand that's a corrective
22   disclosure as alleged by the complaint, and I am
23   assuming that the plaintiffs will prove at trial
24   that that's corrective disclosure, and to the
25   extent that that's the case, you know, this I'm

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 1                     M. HARTZMARK, PH.D.
 2   looking at as it relates to market efficiency.
 3   But I'm assuming that the corrective disclosures
 4   are corrective.
 5       Q.      And if the corrective disclosures are
 6   proven not to be corrective, if the alleged
 7   corrective disclosures are proven not to be
 8   corrective, would that have an impact on your
 9   opinions?
10               MR. SALTZMAN:            Objection.
11       A.      Well, my opinion as it relates to the
12   market efficiency?
13       Q.      Yes.
14       A.      No, because there was material
15   information that was disclosed on that day, and
16   from a statistical perspective, it was
17   unexpected and material.
18       Q.      Have you attempted to analyze the June
19   6 disclosure to see whether there was any
20   unexpected information disclosed that was
21   unrelated to the alleged fraud?
22               MR. SALTZMAN:            Objection.
23       A.      That's an issue associated with loss
24   causation, and I haven't been asked to opine on
25   loss causation.

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 1                     M. HARTZMARK, PH.D.
 2       Q.      It would be real easy if you just said
 3   yes, you did or no, you didn't.
 4               MR. THORNTON:            So could you read him
 5       the question and see if I can get an answer.
 6               (Record read.)
 7       A.      The answer stays the same.                        I wasn't
 8   asked to do that because I wasn't asked to do a
 9   loss causation analysis.
10       Q.      I'm not asking you what you were asked
11   to do.   I'm asking you what you did.
12               So did you make any effort to do that
13   or did you not?       It's a very simple question.
14               Yes, you did or no, you didn't?
15       A.      I believe the scope of what I was
16   asked to do is clearly delineated in my report.
17       Q.      That's not my question, Dr. Hartzmark.
18   I'm not asking what your engagement was.                          I'm
19   asking what you did.           All you have to do is tell
20   me if you made some effort to break out any
21   information in the June 6 announcement that was
22   unexpected and unrelated to the alleged fraud,
23   just tell me, yes, I did, and then I'll ask you
24   what you did.      If the answer is no, I didn't,
25   then we can move on to the next question.

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 1                     M. HARTZMARK, PH.D.
 2       A.        Well, your question is quite broad.
 3   Okay?    I have looked at a variety of analyst
 4   reports, for example, okay?                 I don't recall
 5   whether I looked at -- it's likely, but I don't
 6   recall whether I looked at June 6.                        I know that
 7   I cite to certain analyst reports, so I would
 8   have looked at it.
 9                 And that's why your question is broad,
10   but I was -- did not look at them for the
11   purposes of a loss causation analysis.                        I looked
12   at them for the purposes of asking the question
13   of whether HD common stock traded in an open,
14   well-developed and efficient market.
15       Q.        Is there some reason you just won't
16   answer my question?
17       A.        I think I've answered your question.
18                 Answer -- read the question again.
19                 (Record read as follows:
20            "Q     Have you attempted to analyze the
21      June 6 disclosure to see whether there was any
22      unexpected information disclosed that was
23      unrelated to the alleged fraud?")
24                 THE WITNESS:         And I will say that I
25       examined analyst reports.                   I don't remember

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 1                     M. HARTZMARK, PH.D.
 2       specifically.          However, I did not look at
 3       them for the purposes of a loss causation
 4       analysis.       I looked at them for the purposes
 5       of a market efficiency analysis.
 6   BY MR. THORNTON:
 7       Q.       For whatever purpose you looked at
 8   them, did you identify any information disclosed
 9   on June 6 that was both unexpected and unrelated
10   to the alleged fraud?
11       A.       I don't --
12                MR. SALTZMAN:             Objection.
13       A.       I can't recall.
14       Q.       Turn to page -- actually, paragraph 90
15   of your report, which is on page -- it begins at
16   the bottom of page 40.
17                If you would look at that.                         I won't
18   read it out loud.
19                (Document review.)
20       Q.       Okay.
21       A.       Yes.
22       Q.       You see there's reference there to
23   analyst reports?
24       A.       Yes, I cite to RBC Capital's report,
25   Drexel Hamilton, Morgan Stanley, Raymond James,

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 1                     M. HARTZMARK, PH.D.
 2   analysis.     I was just looking to try to get a
 3   sense of why the statistical measures -- why I
 4   had a statistically significant price decline
 5   over a two-day period as opposed to a one-day
 6   period.
 7       Q.       Does that mean the answer to my
 8   question is no, you can't describe anything that
 9   you recall from the analyst reports that you
10   attribute to the -- that they attributed to the
11   newly announced additional FM spending?
12                MR. SALTZMAN:             Objection.
13       A.       I'm confused.             I mean, at least in
14   this one sentence it says the most troubling
15   development was the new incremental FM spending.
16       Q.       Okay.      You're talking about with
17   respect to the RBC.            My question was whether you
18   recall anything else in the analyst reports that
19   address that; and if you do, tell me, and if you
20   don't, just say you don't.
21       A.       Not that I recall right now.
22       Q.       Okay.      Do you recall anything about
23   what these analyst reports to which you refer in
24   paragraph 90 said about other HD businesses
25   besides the FM segment?

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 1                     M. HARTZMARK, PH.D.
 2       A.       When you say "referring"?
 3       Q.       Yes.     The paragraph where there were,
 4   I think, six reports identified?
 5       A.       Yes.
 6       Q.       Okay.      So you believe you personally
 7   read this before; is that correct?
 8       A.       This, I believe, I -- I have, you
 9   know, reviewed again for the purposes to
10   determine whether there was material and
11   unexpected information that would have been
12   disclosed.
13       Q.       And then if you look at the first page
14   under "Key points," about three or four lines
15   down, I think this is one you quoted.                           It says,
16   "The most troubling development was the new
17   incremental FM spending that was unexpected and
18   frankly poorly explained on the call."
19                You see that?
20       A.       Yes.
21       Q.       Then the next sentence says,
22   "Investors thought the worst and linked this
23   spending to the ecommerce pressures that have
24   torpedoed Grainger."
25                Do you see that?

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 1                     M. HARTZMARK, PH.D.
 2       A.       Yes.
 3       Q.       Do you have any understanding about
 4   what that sentence is referring to?
 5                MR. SALTZMAN:            Objection.
 6       A.       Again, I -- I have read this for the
 7   purposes to determine whether there's material
 8   information that was disclosed.                      It appears it
 9   was material enough for them to reduce their
10   price target from $53 to $39.
11                I didn't look at the individual
12   issues.
13       Q.       So is the answer to my question, no,
14   you don't have any understanding about what that
15   sentence means?
16       A.       Well, let me then --
17                MR. SALTZMAN:            I'm going to object to
18       this whole line of questioning.                            This is
19       getting further and further outside the
20       scope of Dr. Hartzmark's report, which he
21       has repeatedly made clear what it is about
22       and what the issues you are asking about,
23       which is loss causation, which has nothing
24       to do with why we're here today.
25                MR. THORNTON:            I'm asking him

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                                                                        Page 102
 1                     M. HARTZMARK, PH.D.
 2       questions about an analyst report that he
 3       relied on in issuing the report at issue in
 4       this case.
 5                MR. SALTZMAN:            And he relied on it to
 6       the extent he made clear.
 7                MR. THORNTON:            I think I'm entitled
 8       to -- your objection is noted, but I think
 9       I'm entitled to ask these questions.
10   BY MR. THORNTON:
11       Q.       So let me just repeat my question.
12   It's very simple.
13                The sentence I read about ecommerce
14   pressures, do you have any understanding what
15   that relates to?
16       A.       Well, you know, I'm going to note that
17   this is a 14-page report, and I will, to the
18   extent that issue is in here, I'm going to -- if
19   you will let me, I'm going to take a look at it.
20   I have told you why I relied on this report and
21   how this is consistent with -- with my opinion
22   that there was material, unexpected news, and
23   that the statistically significant responses
24   associated with material, unexpected news.
25                You're asking me about one sentence

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 1                     M. HARTZMARK, PH.D.
 2   out of 14 pages, so I need to understand what
 3   context you're asking in.
 4       Q.       As you sit here today, without reading
 5   the entire 14 pages, sir, do you have any
 6   understanding what this sentence is referring to
 7   about the ecommerce pressures that have
 8   torpedoed Grainger?
 9                MR. SALTZMAN:            I'm going to object to
10       that again.        He's not -- he's not an expert
11       on this industry, and I don't understand why
12       you're asking him for his opinion on
13       ecommerce pressures torpedoing the company.
14                MR. THORNTON:            All he has to do -- all
15       he has to do is say is, "No, I don't," and
16       we move on to something else.                        If the answer
17       is, "Yes, I do," then I'm going to ask him
18       to tell me what his understanding is.                        It
19       doesn't have to be this difficult.
20   BY MR. THORNTON:
21       Q.       And I'm not asking you, sir, to read
22   the report.
23       A.       You're asking me to read one sentence
24   out of 14 that I have told you exactly why I
25   relied on this report.              I am -- if you're going

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 1                     M. HARTZMARK, PH.D.
 2   to ask me about one sentence out of 14 pages, I
 3   deserve the opportunity to -- to re-read the
 4   report for these other purposes that you're
 5   asking me for.
 6       Q.       Here's my question:                  As you sit here
 7   today, without reading the entire 14-page
 8   report, do you have any understanding about what
 9   that sentence refers to as it relates to
10   ecommerce pressures that have torpedoed
11   Grainger?
12                MR. SALTZMAN:             If this line of
13       questioning continues, I'm going to call the
14       chambers about it.               I think it's clearly way
15       outside the scope of the deposition.
16                MR. THORNTON:             Fine.
17   BY MR. THORNTON:
18       Q.       I'm not -- Dr. Hartzmark, look, it's
19   really simple.        If you have something in mind,
20   just tell me.      If you don't, I don't want you to
21   read the entire report.
22       A.       Well.
23       Q.       So just --
24       A.       Again, I read this report.
25       Q.       Okay.

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 1                     M. HARTZMARK, PH.D.
 2       A.       And I examined it for the purposes of
 3   market efficiency.          Okay?         As to the specific
 4   issues, I don't recall as I sit here.                          You've
 5   given me a 14-page report, and you have asked me
 6   about one sentence, and I'm going to look at the
 7   report to see what I can recall.
 8       Q.       I'm not asking you to do that.                       I
 9   think, if you're unable to answer anything
10   other, that's fine.           It's a very simple question
11   susceptible of a very straightforward and simple
12   answer.
13                MR. SALTZMAN:            I don't think that it
14       is.    I don't think it is a simple question.
15                (Document review.)
16                (Hartzmark Exhibit 6, William Blair
17       analyst report, marked for identification,
18       as of this date.)
19   BY MR. THORNTON:
20       Q.       You've been handed what's been marked
21   as Exhibit 6.
22                Is this the -- or does it appear to be
23   the William Blair analyst report to which you
24   refer in paragraph 90 of your report?
25       A.       Yes.

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